           Case 3:13-cr-03481-BTM                     Document 494               Filed 12/19/14             PageID.2050              Page 1 of 5
      ~AO 245B (CASD) (Rev. 4114)    Judgment in a Criminal Case
                Sheet I




                                               UNITED STATES DISTRICT COURT                                                             DEC 19 2014
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE"·                                     ~.
                                         v.                                         (For Offenses Committed On or After November I, 1987)

                            AKOP GALSTIAN [7]                                       Case Number: 13CR348I-BTM
                                                                                     BRIAN WHITE
                                                                                    Defendant's Attorney
     REGISTRATION NO. 40727298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) ..:I..,;O:.:;F:.....:.T::H::E..:IN:..:::D.:.IC:.T::M=E.:,;N..:T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not gUilty.
           Accordingly, the defendant is adjudged guilty of such courrt(s), which involve the following offense(s):
                                                                                                                                              Couut
     Title & Section                          Nature of Offeuse                                                                              Number(s)
18 USC 1349                            CONSPIRACY TO COMMIT BANK FRAUD                                                                            I




        The defendant is sentenced as provided in pages 2 through     5    of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 O C o u n t ( s ) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0                                    are   0 dismissed on the motion of the United States.
 181 Assessment: $100 to be paid forthwith.

 181 Fine waived                                    o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address lUltil all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               DECEMBER 16, 2014
                                                                               Date of Imposition of Sentence


                                                                              ~ed~                                               ,
                                                                               HON:BAYiED MOSKOWITZ                          f>t<.~
                                                                               UNITED STATES DISTRICT JUDGE



                                                                                                                                               13CR3481-BTM
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AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                              Judgment _ Page _....::.2__ of   5
DEFENDANT: AKOP GALSTIAN [7]
CASE NUMBER: 13CR3481-BTM
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
        TIME SERVED



    o
    o
        Sentence imposed pursuant to Title 8 USC Section 1326(b).
        The court makes the following recommendations to the Bureau of Prisons:
                                                                                             ~~~
                                                                                             BARRYEDMOSKOWiTZ
                                                                                             UNITED STATES DISTRlCT JUDGE




    o   The defendant is remanded to the custody of the United States Marshal.

    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.     Op.m.         on _ _ _ _ _ _ _ _ _ __

              as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o befure _____________________________________________
         o    as notified by the United States Marshal.
         o    as notified by the Probation or Pretrial Services Office.


                                                               RETURN
I have executed this judgment as follows:

        Defendant delivered on                                                  to

at _________________________ , with a celtified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                     By _ _ _ _ _~~~~~~~~~~-----
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                       13CR3481-BTM
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AO 245B (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page    _~3,-_    of        5
DEFENDANT: AKOP GALSTIAN [7]
CASE NUMBER: 13CR3481-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check. if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000 ..pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with me requirements ofthe Sex Offender Registration ana Notification Act (42 U.S.C. § 16901. et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifYing offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are ilIegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                      13CR3481-BTM
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        AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                    Sheet 4   Special Conditions
                                                                                                            Judgment Page      4    of       5
        DEFENDANT: AKOP GALSTIAN [7]                                                                   D
        CASE NUMBER: 13CR3481-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
!VI Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release:. failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to'searches pursuant to
    this condition,

o   Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer,
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled subsiance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fOlli.
181 Remain in your place of residence for a period of 180 days, except while working at verifiable employment, attending religious services,
    performing Community Service or undergoing medical treatment or any such other reasons approved by the probation officer. The defendant
    shall be subject to electronic monitoring with the fees for electronic monitoring at the defendant's expense.


jgI Make restitution to the Bank of America in the amount of$25,773.78, to be paid forthwith.

181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening bank or credit card accounts or incurring new credit charges or opening additional lines of credit without
    approval of the probation officer.
lEI Seek and maintain full time employment andlor schooling or a combination of both.
o Resolve all outstanding warrants within days.
o Complete hours of community service in a program approved by the probation officer within
181 Patticipate for a period of 180 days in the home detention component of the Location Monitoring Program, which may include electronic
    monitoring, GPS, Alcohol monitoring, or other automated identification systems; the defendant shall observe all rules of such program, as
    directed by the Probation Officer. The defendant shall maintain a residential telephone line without devices and/or services that may intelTUpt
    the operation of the monitoring equipment, unless excused by the Probation Officer. The defendant shall pay costs oflocation monitoring to
    the contract vendor not to exceed the sum of $12,00 for each day of participation; the defendant shall provide payment and proof of payment
    as insb.ucted.


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   :direct!yor indirectiy, valued 'at $1 ,000 orJnotelliiiludtrigab,yib.tefesi'ohtiliired nuder any other name, or entity, including a irnst, pattnership,
    or cOrPoration untilrestitutionispaighifu)L The detendantsh~ll notify the Collections Unit,United States Attorney's Office 10 days,
    before transferringilnyinterestin property valued at $1,000 or.ll1oreowned directly or indirectly by the Defendant, including any interest
    held 01' owned under any other name or entity, including a trust, partnership, and/or cOrPorations.




                                                                                                                                         13CR3481-BTM
~   ,   . ,"
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        AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

          DEFENDANT:             AKOP GALSTIAN [7]                                                   Judgment - Page 5 of 5
          CASE NUMBER:           13CR3481-BTM

                                                    RESTITUTION


         The defendant shall pay restitution in the amount of $25,773.78              unto the United States of America.
         For the benefit of Bank of America through the Clerk of Court




         This sum shall be due immediately. And shall be paid as follows: Forthwith.




        The Court has determined that the defendant    does not     have the ability to pay interest. It is ordered that:
               The interest requirement is waived




                                                                                                              13CR3481-BTM
